Case No. 1:23-cv-00645-NYW Document 37-1 filed 06/08/23 USDC Colorado pg 1 of 3


                                                                                       APPEAL,JD1,TERMED
                            U.S. District Court − District of Colorado
                                  District of Colorado (Denver)
                       CIVIL DOCKET FOR CASE #: 1:23−cv−00645−NYW

   Shaver v. Whittier Condominiums HOA                              Date Filed: 03/13/2023
   Assigned to: Judge Nina Y. Wang                                  Date Terminated: 05/09/2023
   Demand: $5,000,000                                               Jury Demand: None
   Cause: 42:1983(c)(v)(p) − Civil Rights (Personal Property)       Nature of Suit: 440 Civil Rights: Other
                                                                    Jurisdiction: Federal Question
   Plaintiff
   David William Dacres Shaver                       represented by David William Dacres Shaver
                                                                    1750 30th Street
                                                                    #A338
                                                                    Boulder, CO 80301
                                                                    303−351−4239
                                                                    PRO SE


   V.
   Defendant
   Whittier Condominiums HOA
   (City of Boulder has been sent Notice)


    Date Filed     #    Docket Text
    06/07/2023     36 NOTICE OF APPEAL as to 34 Judgment, 33 Order, by Plaintiff David William
                      Dacres Shaver. (trvo, ) (Entered: 06/08/2023)
    05/09/2023     35 CERTIFICATE of Service by Mail by Clerk of Court re 33 Order and 34 Final
                      Judgment to David William Dacres Shaver, 1750 30th Street, #A338, Boulder, CO
                      80301. Text Only Entry (ebuch) (Entered: 05/09/2023)
    05/09/2023     34 FINAL JUDGMENT in favor of Defendant Whittier Condominiums HOA and against
                      Plaintiff David William Dacres Shaver pursuant to 27 and 33 Orders, by Clerk on
                      5/9/2023. (ebuch) (Entered: 05/09/2023)
    05/09/2023     33 ORDER denying 32 Response and Motion to Stay/Extend Termination/Order of 4.12
                      Pending Intended Appeal Outcome. Because Plaintiff's Complaint has been dismissed
                      without prejudice for lack of subject matter jurisdiction, and because Plaintiff has not
                      filed an amended pleading by the Court's deadline, this case is terminated, by Judge
                      Nina Y. Wang on 5/9/2023. (ebuch) (Entered: 05/09/2023)
    05/03/2023     32 Response and Motion to Stay/Extend Termination/Order of 4.12 Pending Indented
                      Appeal Outcome, by Plaintiff David William Dacres Shaver. (Attachments: # 1
                      Certificate of Service, # 2 Exhibit, # 3 Exhibit)(angar, ) (Entered: 05/04/2023)
    05/03/2023     31 BRIEF in Support of Complaint for Replevin/Preliminary Injunction, by Plaintiff
                      David William Dacres Shaver. (angar, ) (Entered: 05/04/2023)
    04/14/2023     30 Conventionally Submitted Material: 1 CD containing Exhibit L, Communications &
                      Logs of 4.12 by Plaintiff David William Dacres Shaver. Material placed in the Clerk's
                      Office A−1−7. Text Only Entry. (trvo, ) (Entered: 04/14/2023)
    04/13/2023     29 CERTIFICATE of Service by David William Dacres Shaver. (trvo, ) (Entered:
                      04/13/2023)
    04/12/2023     28 CERTIFICATE of Service by Mail by Clerk of Court re 27 Order to David William
                      Dacres Shaver at 1750 30th Street #A338 Boulder, CO 80301. Text Only Entry. (trvo,
                      ) (Entered: 04/12/2023)
Case No. 1:23-cv-00645-NYW Document 37-1 filed 06/08/23 USDC Colorado pg 2 of 3


    04/12/2023   27 ORDER. The Order to Show Cause [Doc. 16 ] is MADE ABSOLUTE. Plaintiff's
                    Complaint [Doc. 1 ] is DISMISSED without prejudice for lack of subject matter
                    jurisdiction. Plaintiff is GRANTED LEAVE to file an amended complaint within 21
                    days of the date of this Order. Plaintiff is ADVISED that any amended pleading must
                    comply with Rule 8 and Rule 10 of the Federal Rules of Civil Procedure. Plaintiff is
                    ADVISED that if he fails to file an amended pleading by the Court's deadline, this
                    Court will direct the Clerk of Court to terminate this case without further warning from
                    the Court. The pending Motions in this case [Doc. 2 ; Doc. 10 ; Doc. 11 ; Doc. 12 ;
                    Doc. 14 ; Doc. 19 ] are DENIED without prejudice as moot. By Judge Nina Y.
                    Wang on 4/12/2023.(trvo, ) (Entered: 04/12/2023)
    04/03/2023   26 Conventionally Submitted Material: 1 USB Drive re 25 Certificate of Service by
                    Plaintiff David William Dacres Shaver. Material placed in the Clerk's Office A−1−7.
                    Text Only Entry. (trvo, ) (Entered: 04/04/2023)
    03/31/2023   25 CERTIFICATE of Service by David William Dacres Shaver (trvo, ) (Entered:
                    04/04/2023)
    03/31/2023   24 RESPONSE TO 16 ORDER TO SHOW CAUSE by Plaintiff David William Dacres
                    Shaver. (trvo, ) (Entered: 04/04/2023)
    03/28/2023   23 SUMMONS issued by Clerk. (sdunb, ) (Entered: 03/28/2023)
    03/27/2023   22 SUMMONS REQUEST as to Whittier Place Condominiums HOA, Inc. by Plaintiff
                    David William Dacres Shaver. (sdunb, ) (Entered: 03/28/2023)
    03/27/2023   21 Declaration of Facts Regarding Notice to City of Boulder by Plaintiff David William
                    Dacres Shaver. (sdunb, ) (Entered: 03/28/2023)
    03/15/2023   20 Declaration of Facts Regarding Notice to Christine Mollenkopf by Plaintiff David
                    William Dacres Shaver (trvo, ) (Entered: 03/17/2023)
    03/15/2023   19 MOTION for Permissive Joinder of 3rdP If Appropriate by Plaintiff David William
                    Dacres Shaver. (trvo, ) (Entered: 03/17/2023)
    03/14/2023   18 Exhibits in Support of 1 Complaint, by Plaintiff David William Dacres Shaver.
                    (Attachments: # 1 Exhibit D, # 2 Exhibit E, # 3 Exhibit F, # 4 Exhibit G, # 5 Exhibit
                    H, # 6 Exhibit I) (blaws) (Entered: 03/16/2023)
    03/14/2023   17 CERTIFICATE of Service by Mail by Clerk of Court re 16 Order to Show Cause to
                    David William Dacres Shaver at 1750 30th Street #A338 Boulder, CO 80301. Text
                    Only Entry. (trvo, ) (Entered: 03/14/2023)
    03/14/2023   16 ORDER TO SHOW CAUSE: Plaintiff shall SHOW CAUSE, in writing, on or before
                    March 31, 2023, why this case should not be dismissed without prejudice for lack of
                    federal subject matter jurisdiction. By Judge Nina Y. Wang on 3/14/2023. (trvo, )
                    (Entered: 03/14/2023)
    03/13/2023   15 Case assigned to Judge Nina Y. Wang. Text Only Entry. (blaws) (Entered:
                    03/14/2023)
    03/13/2023   14 MOTION to Perform Site Inspection by Plaintiff David William Dacres Shaver.
                    (blaws) (Entered: 03/14/2023)
    03/13/2023   13 Pre−Pleading Memoranda of Law in Support of 12 MOTION for Joinder filed by
                    Plaintiff David William Dacres Shaver. (blaws) (Entered: 03/14/2023)
    03/13/2023   12 MOTION for Permissive Joinder of Third Parties if Appropriate by Plaintiff David
                    William Dacres Shaver. (blaws) (Entered: 03/14/2023)
    03/13/2023   11 MOTION for Judicial Review of Forum and Jurisdiction Clauses by Plaintiff David
                    William Dacres Shaver. (blaws) (Entered: 03/14/2023)
    03/13/2023   10 EMERGENCY MOTION for Preliminary Injunction by Plaintiff David William
                    Dacres Shaver. (blaws) (Entered: 03/14/2023)
    03/13/2023    9 BRIEF in Support of # 1 Complaint, by Plaintiff David William Dacres Shaver.
                    (blaws) (Entered: 03/14/2023)
Case No. 1:23-cv-00645-NYW Document 37-1 filed 06/08/23 USDC Colorado pg 3 of 3


    03/13/2023   8 OBJECT to Assignment to Magistrate Pursuant to Colorado Rules for Magistrates by
                   Plaintiff David William Dacres Shaver. (blaws) (Entered: 03/14/2023)
    03/13/2023   7 RESTRICTED DOCUMENT − Level 1: Exhibit K to # 1 Complaint by Plaintiff
                   David William Dacres Shaver. (blaws) (Entered: 03/14/2023)
    03/13/2023   6 RESTRICTED DOCUMENT − Level 1: Exhibit B to # 1 Complaint by Plaintiff
                   David William Dacres Shaver. (blaws) (Entered: 03/14/2023)
    03/13/2023   5 RESTRICTED DOCUMENT − Level 1: Exhibit A to # 1 Complaint by Plaintiff
                   David William Dacres Shaver. (blaws) (Entered: 03/14/2023)
    03/13/2023   4 RESTRICTED DOCUMENT − Level 1: Affidavit by Plaintiff David William Dacres
                   Shaver. (blaws) (Entered: 03/14/2023)
    03/13/2023   3 RESTRICTED DOCUMENT − Level 1: Sealed Memorandum in Support of Sealing
                   to # 2 Motion by Plaintiff David William Dacres Shaver. (blaws) (Entered:
                   03/14/2023)
    03/13/2023   2 Unsealed MOTION for Suppressing or Sealing by Plaintiff David William Dacres
                   Shaver. (blaws) (Entered: 03/14/2023)
    03/13/2023   1 COMPLAINT for Cause of Action: Replevin against Whittier Condominiums HOA
                   (Filing Fee: $402.00, Receipt Number: 106315), filed by David William Dacres
                   Shaver. (Attachments: # 1 Civil Cover Sheet, # 2 Exhibits, # 3 Attachments, # 4
                   Summons, # 5 Notice of a Lawsuit and Request to Waive Service of a Summons, # 6
                   Waiver of the Service of Summons, # 7 Declaration of Facts, # 8 Proposed Writ of
                   Assistance) (blaws) (Entered: 03/14/2023)
